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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                WESTERN DIVISION


 In re:

          GUEVIN, KATHLEEN                         Chapter 7
                                                   Case No.: 18-30765-EDK

                       Debtor(s)


                                CERTIFICATE OF SERVICE

        I, Steven Weiss, of Shatz Schwartz and Fentin, P.C., do hereby certify that on October
12, 2018, a copy of the foregoing Application to Employ Broker was mailed via electronic
and/or first-class mail, postage pre-paid, to the following:

Kathleen Guevin
57 Bonair Ave.
West Springfield, MA 01089

Damien J. Martin
2341 Boston Road
Wilbraham, MA 01095




                                                           /S/ Steven Weiss
                                                    Steven Weiss, Esquire
                  Case
Label Matrix for local    18-30765
                       noticing             Doc 25 Springfield
                                                     Filed 10/12/18 Entered 10/12/18 10:22:36      Desc Main
                                                                                        Ally Financial
0101-3                                                 Document
                                                   U.S. Bankruptcy Court Page 25 of 25  PO Box 380901
Case 18-30765                                        300 State Street, Suite 220                          Bloomington, MN 55438-0901
District of Massachusetts                            Springfield, MA 01105-2925
Springfield
Fri Oct 5 15:07:11 EDT 2018
CACH, LLC                                            City of West Springfield                             Korde Associates
c/o Resurgent Capital Services                       Treasurers Office                                    900 Chelmsford Street
P O Box 10675                                        26 Central Street                                    Lowell, MA 01851-8102
Greenville, SC 29603-0675                            West Springfield, MA 01089-2781


U.S. Bank National Association as Trustee            Damien J. Martin                                     Kathleen Guevin
425 Walnut Street                                    PO Box 300                                           57 Bonair Ave
Cincinnati, OH 45202-3956                            Hampden, MA 01036-0300                               West Springfield, MA 01089-2953



Richard King                                         Steven Weiss
Office of the U. S. Trustee                          1441 Main Street
446 Main Street                                      Suite 1100
14th Floor                                           Springfield, MA 01103-1450
Worcester, MA 01608-2361




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(u)GMAT Legal Title Trust 2013-1, U.S. Bank N        End of Label Matrix
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